Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 1 of 19 PageID #: 8




                       Exhibit 1
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 2 of 19 PageID #: 9

                                                                                                                                            US007256899B1


(12) United States Patent                                                                            (10) Patent No.:     US 7.256,899 B1
       Faul et al.                                                                                   (45) Date of Patent:     Aug. 14, 2007
(54) WIRELESS METHODS AND SYSTEMS FOR                                                                    6,611,617 B1    8/2003 Crampton
        THREE-DIMIENSIONAL NON-CONTACT                                                                   6,709,116 B1* 3/2004 Raskar et al. ............... 353,121
        SHAPE SENSING                                                                                    6,724,930 B1    4/2004 Kosaka et al. .............. 382,154
                                                                                                         6,829,384 B2 * 12/2004 Schneiderman et al. .... 382/154
(75) Inventors: Ivan Faul, 323 Overlook La., Boulder,                                                    6,980,302 B2 * 12/2005 Knighton et al. ........... 356,607
                                                                                                         7,009,717 B2 3/2006 Van Coppenolle
               CO (US) 80302-9444; Waldean Allen                                                         7,106,885 B2 * 9/2006 Osterweil et al. ........... 382,103
               Schulz, Boulder, CO (US)                                                          2002/0175994 A1* 11/2002 Sakakibara et al. ......... 348, 135
                                                                                                 2005/0069172 A1* 3/2005 Uchiyama ................... 382/100
(73) Assignee: Ivan Faul, Boulder, CO (US)
                                                                                                                                  OTHER PUBLICATIONS
(*) Notice:           Subject to any disclaimer, the term of this                             Polhemus, “FastScan”, Apr. 2003, Polhemus, Colchester, VT.
                      patent is extended or adjusted under 35                                 GFM, “ILS Intelligenter Lichtschnittsensor, May 2000, GFM
                      U.S.C. 154(b) by 0 days.                                                Gesellschaft für Meftechnik mbH, Aachen, Germany, http://www.
                                                                                              gfm-aachen.de/.
(21) Appl. No.: 11/538,753
                                                                                                                     (Continued)
(22) Filed:           Oct. 4, 2006                                                            Primary Examiner Sang H. Nguyen
                                                                                              (74) Attorney, Agent, or Firm—Hansen Huang Tech Law
(51) Int. Cl.                                                                                 Group LLP
        G0IB II/4               (2006.01)
        G06K 9/00               (2006.01)                                                     (57)                                            ABSTRACT
        G06T I7/00              (2006.01)
        H04N 5/225              (2006.01)                                                     Methods for acquiring an approximation of the Surface
(52) U.S. Cl. ...................... 356/623: 356/608: 356/639;                               geometry of a 3-dimensional object include projecting pat
                         382/154; 382/293; 345/420; 348/169                                   tern of structured light on the object, moving the pattern with
(58) Field of Classification Search ........ 356/603–640;                                     respect to the object, acquiring images of the intersection of
              382/154, 293, 106; 345/420; 348/169, 180                                        the light on the object over time, determining local coordi
     See application file for complete search history.                                        nates of points on the intersection with respect to the pattern,
                                                                                              tracking the position of the pattern, transforming the local
(56)                    References Cited                                                      coordinates to object coordinates, and accumulating the
                 U.S. PATENT DOCUMENTS                                                        points as a model of the surface of the object. The methods
                                                                                              include a step for wirelessly and possibly compactly trans
       4,737,032 A       4, 1988 Addleman                                                     mitting geometrical data which characterizes an intersection
       5, 198,877 A      3, 1993 Schulz                                                       for a given position of the Scanner with respect to the object.
       RE35,816 E        6, 1998 Schulz                                                       Systems for embodying the method include a self-powered
       5,850,289 A * 12/1998 Fowler et al. .............. 356,603                             wireless, non-contact optical scanner, the location and ori
       5,920,395 A        7, 1999 Schulz
       5,969,822 A * 10/1999 Fright et al. ................ 356,608                           entation of which may be tracked with respect to an object
       6,216,029 B1 * 4/2001 Paltieli .......            ... 600,427                          coordinate system.
       6,512,838 B1* 1/2003 Rafii et al. .................. 382/106
       6,608,688 B1       8, 2003 Faul                                                                                      16 Claims, 7 Drawing Sheets
                                                                                                                                  -500
                                                   Establish a common coordinate system related to an object to be scanned
                                                                                                                                    -50
                                                 Project a knownstructured pattern of light onto an object, producing illuminated
                                                      surfacepoints or the intersection between the pattern and the object
                                                                                                                                  -520
                                                      Forman image of the intersection of the patternoflighton the object
                                                                                                                                  -530
                                                 Process points in the Image of the Intersection to obtain a set of 3-d coordinates
                                                 of corresponding surfacepoints on the intersection, where the 3-d coordinates
                                                                         are relative to thepattern of light

                                                                                                                                  -540
                                                    Wirelessly transmit the processed surface point coordinates to a receiver
                                                                                                                                      550
                                                    Track the spatiallocation and orientation of the projected pattern of light
                                                                    relative to the common coordinate system
                                                                                                                                  -500
                                                  Wirelessly receive the processed surface point coordinates, associating each
                                                     coordinate set with the spatiallocation and orientation of the patterm of
                                                  light at this time the image associated with the surfacepoint data was formed

                                                  Transform the local coordinates of the 3-d surface points into corresponding
                                                   coordinates in the common coordinate system based on the location and
                                                           orientation of the associated osition of the pattern of light

                                                Accumulate the transformed surface point coordinates to forman approximation
                                                   of the surface of the object. Optional ly, display the points on a 2-discreen
                                                                                                                                      590
                                                    Move the pattern of light with respect to the object, and repeat the above
                                                         beginning at step 510 until sufficient points are accumulated
                                                                                                                                      595
                                                optionally generate a tessellation of patches reresenting the surface of the object
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 3 of 19 PageID #: 10


                                                    US 7.256,899 B1
                                                             Page 2

                 OTHER PUBLICATIONS                               Breuckmann, “stereoScan’, Jul. 2006, Breuckmann.
       G6                  s                                      GOM. “ATOS', downloaded May 31, 2007, GOM mbH,
Metris, “XC50-LS Cross Scanner', downloaded May 31, 2007,         Braunschweig, Germany, C:\documents\RIHTLG\clients\1007 B I
Metris, Leuven, Belgium, http://www.metris.com/cmm scanners/.     G\003 wireless Spraylight\RCE\GOM - Measuring Systems -
Opton, “L Series ()Surftizer LN-206D, downloaded May 31, 2007,    ATOSmht.
Opton & Co. Ltd. http://www.opton.co.jp/techreplmd/md1 4/
md1 4in/mde1 4 n.html.                                            * cited by examiner
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 4 of 19 PageID #: 11


U.S. Patent         Aug. 14, 2007      Sheet 1 of 7      US 7.256,899 B1




                                    Fig. 1
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 5 of 19 PageID #: 12


U.S. Patent          Aug. 14, 2007     Sheet 2 of 7        US 7.256,899 B1




                                     Fig. 2
                                                               26
                                                      12            24




                38

                      40
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 6 of 19 PageID #: 13


U.S. Patent         Aug. 14, 2007     Sheet 3 of 7       US 7.256,899 B1




                                    Fig. 3




                                                                    92
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 7 of 19 PageID #: 14
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 8 of 19 PageID #: 15


U.S. Patent             Aug. 14, 2007          Sheet S of 7                  US 7.256,899 B1




                                         Fig. 5                                              500

                                                                                             510
        Project a known structured pattern of light onto an object, producing illuminated
             surface points on the intersection between the pattern and the object
                                                                                             520


                                                                                             530
        Process points in the image of the intersection to obtain a set of 3-d coordinates
         of corresponding surface points on the intersection, where the 3-d coordinates
                                are relative to the pattern of light
                                                                                             540
           Wirelessly transmit the processed surface point coordinates to a receiver
                                                                                             550
           Track the spatial location and orientation of the projected pattern of light
                          relative to the common coordinate system
                                                                                             560
         Wirelessly receive the processed Surface point Coordinates, associating each
             coordinate set with the spatial location and Orientation of the pattern of
         light at the time the image associated with the surface point data was formed
                                                                                             570
         Transform the local coordinates of the 3-d surface points into corresponding
          coordinates in the common coordinate system based on the location and
                 orientation of the associated position of the pattern of light
                                                                                             580
        Accumulate the transformed surface point coordinates to form an approximation
           of the surface of the object. Optionally, display the points on a 2-d screen
                                                                                             590
           Move the pattern of light with respect to the object, and repeat the above
                beginning at step 510 until sufficient points are accumulated
                                                                                             595
       Optionally generate a tessellation of patches reresenting the surface of the object
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 9 of 19 PageID #: 16


U.S. Patent                  Aug. 14, 2007      Sheet 6 of 7                  US 7.256,899 B1




                                             Fig. 6                                            600
           Establish a common coordinate system related to an object to be scanned
                                                                                               60
        Project a known structured pattern of light onto an object, producing illuminated
             surface points on the intersection between the pattern and the object
                                                                                               620
              Form an image of the intersection of the pattern of light on the object
                                                                                               630
           Process the image to obtain a set of 2-d pixel coordinates of points on the
                                   image of the intersection
                                                                                               640
                 Wirelessly transmit the processed pixel coordinates to a receiver
                                                                                               650
            Track the spatial location and orientation of the projected pattern of light
                            relative to the common coordinate system
                                                                                               660
              Wirelessly receive the processed pixel coordinates, associating each
             coordinate set with the spatial location and orientation of the pattern of
         light at the time the image associated with the surface point data was formed
                                                                                               665
        Using known information about the 3-d relationship of the image to the pattern of
         light, convert the pixel coordinates to 3-d surface point coordinates relative to a
                 local coordinate system defined with respect to the pattern of light
                                                                                               670
          Transform the local coordinates of the 3-d surface points into corresponding
           coordinates in the common coordinate system based on the location and
                  orientation of the associated position of the pattern of light

        Accumulate the transformed surface point coordinates to form an approximation
           of the surface of the object. Optionally, display the points on a 2-discreen

          To Fig. 6 (cont)                                                  To Fig. 6 (cont)
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 10 of 19 PageID #: 17


U.S. Patent             Aug. 14, 2007         Sheet 7 Of 7                US 7.256,899 B1




        From Fig.6                                                          From Fig. 6


          Move the pattern of light with respect to the object, and repeat the above
               beginning at step 610 until sufficient points are accumulated

      Optionally generate a tessellation of patches reresenting the Surface of the object


                                    Fig. 6 (cont.)
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 11 of 19 PageID #: 18


                                                    US 7,256,899 B1
                              1.                                                                2
    WIRELESS METHODS AND SYSTEMIS FOR                              effect, the image of the contour line on each camera simul
     THREE-DIMIENSIONAL NON-CONTACT                                taneously captures the locations of many Surface points all
              SHAPE SENSING                                        on one plane through the object. This speeds the process of
                                                                   gathering many sample points, while the plane of light (and
      CORRESPONDING RELATED APPLICATIONS                        5 usually also the receiving camera) is laterally moved so to
                                                                   “paint some or all of the exterior surface of the object with
   None                                                            the plane of light. By knowing the instantaneous position of
                                                                   the camera and the instantaneous position of the plane of
                FIELD OF THE INVENTION                             light within a object-relative coordinate system when the
                                                                10 image was acquired, a computer and Software can use
    The present invention relates to methods and systems for triangulation methods to compute the coordinates of illumi
wireless, non-contact menSuration of the Surface shape of a nated Surface points. As the plane is moved to intersect
three-dimensional object or features thereof.                      eventually with some or all of the surface of the object, the
                                                                   coordinates of more points are accumulated.
           BACKGROUND OF THE INVENTION                          15    A number of commercially available systems employ the
                                                                   technique of projecting a manually moveable plane of light
    Presently, computer graphics, 3D modeling of real-world and imaging the illuminated intersection of the light on the
objects in Software, and 3D mechanical design are in wide object. Examples include, the U.S. Pat. No. 4.737,032
spread use. Accordingly, it is desirable to capture an approxi (Cyberware, Inc., Monterey, Calif.), the FastSCAN (Polhe
mate computer Software model of an existing physical mus Inc., Colchester, Vt.), and K-Scan (Metris N. V., Leu
object. In many cases, it may suffice for the model to be a ven, Belgium).
"point cloud of surface points sampled from the physical              Other systems project more than one plane of light onto
object. In a more Sophisticated model, the points are vertices the object, or project even more complex patterns of struc
of abutting planar polygonal patches which approximate the tured light. Examples are Metris's X-Scan product and U.S.
Surface of the object. In an even more Sophisticated model, 25 Pat. No. 7,009,717 by Coppenole et al, which is incorpo
the patches are curved, each defined by a bivariate polyno rated herein by reference.
mial or rational mathematical function, as in the NURBS               Other systems project a pattern of light that is modulated
Surfaces commonly used in computer graphics. Special by sequentially increasing and decreasing the light line
cases of 3D data entry also rely on parametric entry, where widths, sometimes using a Gray Code Sequence. One varia
the geometric shape (circle, sphere, cube, etc.) of the object 30 tion of this moves the line pattern over the object, referred
is known and the parametric features are specified in order to as “phase shift encoding. Examples of these systems are
to be retained during Scanning.                                    GFM Messtechnik, ABW-3D, both of Germany, Opton
    Numerous approaches exist which automate or partially (Japan), stereoSCAN by Breackmann and GOM of Ger
automate the process of sampling representative points from many.
the Surface of an object. One approach generates a single 35 To date. Such non-contact scanners are tethered at least by
point at a time, as a contact probe tip is moved across the an electronic cable, if not by further mechanical linkage. For
Surface of the object. Traditional coordinate measuring example, see U.S. Pat. No. 6,611,617 of Crampton.
machines (CMMs) as well as handheld magnetic, mechani
cal, and optical probe tracking systems have historically                       SUMMARY OF THE INVENTION
used this contact probe approach. Computer-aided design 40
(CAD) software can be used to accumulate the measured                 The present invention is directed toward a method and a
points and to build therefrom a 3-dimensional model of the system for wireless three dimensional shape sensing and
surface of the object. An example of a handheld, optically mensuration.
tracked probe and its tracking system are the FlashPoint and          The method provides steps which generate a virtual
3D Creator products sold by Boulder Innovation Group, Inc. 45 3-dimensional model approximating the Surface geometry of
(Boulder, Colo.).                                                  the object. The system generates a virtual 3-dimensional
    Another approach might include various laser or optical model approximating the Surface geometry of an object.
beam non-contact probes, which operate similar to the                 The method projects a pattern of structured light on the
contact probe approach. However, the “probe tip' is a Surface of the object, acquires images of the intersection of
narrow light beam together with an optical sensor, which 50 the light with the object's Surface, and processes each image
accurately measures the length of the ray-like beam to where to generate an intermediate set of Surface data characterizing
it intersects the object at a point. That distance together with the intersection relative to the position of the pattern of light
knowledge of the exact position of the light beam allows at the moment the image was acquired. The process tracks
computation of the 3-dimensional XYZ coordinates of the the position of the pattern of light with respect to the object
point where the beam intersects the surface of the object. By 55 over time. The surface data is wirelessly transmitted to a
gathering Sufficiently dense points from the object, Software receiver which is connected to a computer which correlates
can create a suitable model of the surface of the object. To each surface point datum with the temporally corresponding
date, such non-contact probes are tethered at least by an position of the pattern of light, transforms the Surface point
electronic cable, if not by additional mechanical linkage.         data into coordinates of points with respect to an object
    Rather than a single ray-like laser beam, more advanced 60 coordinate system. The transformed points are the basis of a
non-contact Scanners project a planar “fan of light to virtual 3-dimensional model of the object.
illuminate many points on the object, where the intersection          The system uses a 3-dimensional (3D) object coordinate
of the light and the object forms an illuminated stripe or system in a fixed or otherwise known relationship to the
contour line on the object. These scanners are sometimes object, and the system uses a non-contact scanner. The
called “laser Stripe triangulation scanners. One or more 65 non-contact scanner employs a source of a pattern of struc
Video cameras acquire a 2D dimensional image of the tured light, an electro-optical imager, an image processor, a
contour line from a position offset from the plane of light. In wireless data transmitter, and a scanner position indicator.
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 12 of 19 PageID #: 19


                                                   US 7,256,899 B1
                                3                                                              4
The non-contact Scanner projects the structured light pattern spatial XYZ coordinates of a specified reference point or
onto the object. The light reflected from the illuminated marker on the body with respect to a defined Cartesian
intersection of the light pattern with the object at a particular coordinate system. Further, the orientation of a body may be
moment is imaged by the electro-optical imager. The image represented by yaw, pitch, and roll angles with respect to a
processor generates Surface point data which characterize 5 defined reference orientation, by a quaternion, or by a
the locations of points on the intersection relative to the conventional 3-by-3 rotation matrix. As is also common
scanner position indicator. The wireless transmitter trans practice, the position may alternatively be represented by a
mits the image and/or Surface point data wirelessly to a data single 4-by-4 homogeneous coordinate transformation
receiver.                                                         matrix.
   The system also uses a scanner tracking Subsystem which 10 As used herein, the terms “about or “approximately' for
essentially continuously determines the 3D position (loca any numerical values or ranges indicate Suitable dimensional
tion and orientation) of the scanner position indicator, over tolerances that allow the part or collection of components to
time and with respect to the object. A computing module is function for their intended purposes as described herein.
in wired or wireless communication with the data receiver            With reference to FIG. 1, the system 1 is used in con
and to the scanner tracking Subsystem. The computing 15 junction with a physical object 38 (not properly part of the
module correlates each received surface point datum tem system itself) with a surface 40 which at least partially
porally with the position of the scanner position indicator at reflects light.
the time the intersection containing the Surface point was           Wireless, non-contact scanner 12 projects a pattern of
imaged, transforms the received Surface point data accord structured light 42, which is depicted in FIG. 1 as a single
ing to the correlated Scanner positions, and generates a set of planar “fan of light. In alternative embodiments, the pattern
3D surface point coordinates which are relative to the object may simply be one or several narrow rays of light, may be
coordinate system. The set of Surface points are used to multiple planes of light, or may be a more geometrically
model approximately the objects Surface.                          complex pattern of light.
   The method and the system assume that the position of the         In the embodiment where the pattern is simply a single,
pattern of light and the position of the object are not 25 static narrow ray-like beam, the beam is, for example,
necessarily fixed with respect to each other. Further, the generated by a laser diode and a collating lens. The single,
method and the system assume that over time the pattern of narrow ray-like beam intersects the object 38 as a single tiny
light and the object move relative to each other to illuminate spot of light at a specific Surface point at a specific moment
eventually a sufficient number of points on the surface of the of time. Alternatively, a pattern may be generated by rapidly
object. The relative motion may be effected manually or 30 Sweeping a ray of light within a plane or through a more
automatically.                                                    complex Volumetric pattern, which pattern may at least
                                                                  partially intersect with the object. The ray may sweep
       BRIEF DESCRIPTION OF THE DRAWINGS                          through the whole pattern during a brief period of time (such
                                                                  as a fraction of a second).
   The accompanying drawings, which are incorporated 35 In alternative embodiments, the pattern of structured light
herein and constitute part of this specification, illustrate is generated by projecting coherent light through a hologram
presently preferred embodiments of the invention, and, or a diffraction grating to generate a planar “fan' of light, a
together with the general description given above and the Moiré fringe pattern, or a more complex set of multiple rays,
detailed description given below, serve to explain features of planes, or curved Surfaces in 3D space. Alternatively, the
the invention.                                                 40 structured light can be generated by an optical projector Such
   FIG. 1 is a block diagram of an embodiment of the present as a slide projector or digital video projector. In the case of
invention.                                                        a digital video projector, the geometry of the pattern of
   FIG. 2 is a perspective illustration of an embodiment of a structured light may be dynamically varied so that different
handheld wireless Scanner and an object being scanned.            patterns are projected over time. In each of the embodi
   FIG. 3 is an example of a video image of the intersection 45 ments, the pattern of structured light may be automatically
of a plane of light with an object together with an expanded moved across portions of the object without having to move
close-up view of 16 pixels from the video frame (raster), the scanner itself. For the simple planar pattern of light 42
Some pixels of which contain a part of the image of the depicted in FIG. 1, the intersection 36 with the object 38 is
intersection.                                                     an illuminated contour line 36 on the surface 40 of the object
   FIG. 4 gives several examples of wireless data formats. 50 38. The video image of a contour line may require less image
   FIG. 5 depicts a flow diagram of the steps of an embodi processing than the intersection 36 of a more complex
ment of the method.                                               structured light pattern 42 on the object 38 will require.
   FIG. 6 depicts a flow diagram of the steps of another             Examples of systems projecting structured light include
embodiment of the method.                                         systems sold by GOM GmbH (Braunschweig, Germany)
                                                               55 and GFMesstechnik GmbH (Berlin, Germany). In these
            DETAILED DESCRIPTION OF THE                           systems the scanner is not hand-held, is placed at a fixed
               PREFERRED EMBODIMENTS                              position, or is moved mechanically.
                                                                     At least one optical imaging sensor 16 or 18, Such as a
   Various embodiments of the present invention will be Video camera housed in Scanner 12, captures the intersection
described in detail with reference to the accompanying 60 36 of the pattern of light 42 with the object 38 as a 2D video
drawings. Wherever possible, the same reference numbers image. The video image data may be processed further to
will be used throughout the drawings to refer to the same or compress the data or to exclude extraneous image data that
like parts.                                                       is not part of the video image of the intersection 36. The
   Note that herein the position of some (rigid) physical image processing may be implemented using an on-board
body means both its 3-dimensional location and its 3-di 65 digital microprocessor (not shown). The image of the illu
mensional orientation. As is common practice in computer minated intersection 36 characterizes a portion of the surface
science, the location of the body may be represented as the shape 40 of the object 38. If the pattern of light 42 is a plane,
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 13 of 19 PageID #: 20


                                                    US 7,256,899 B1
                                5                                                                 6
then the intersection 36 is equivalent to a contour line (that to a local coordinate system relative to Scanner 12. As the
is, a cross-section of a portion of the Surface).                 beam is moved to illuminate eventually all or part of the
   Unless specified otherwise, the following descriptions of surface 40 of object 38, a large collection of surface points
embodiments will assume that the pattern of structured light may be sampled.
may be composed of one or more rays, planes, or curved 5 More than one lens and sensor 16 or 18 may be used to
sheets of light. Then the image of an intersection 36 in a image the intersection point 36 of the beam 42 from several
camera 16 or 18 normally will be composed of illuminated angles. This may particularly be advantageous when the
points, lines, or curves, not large illuminated areas.            intersection 36 lies within a depression or beyond a step-like
   In an embodiment, the image processing may discard discontinuity, so that the intersection can be seen from at
some or all of the video pixels which are not part of the 10 least one angle, if not all angles. In another embodiment,
image of the illuminated intersection 36. For example, the there may be several displacement sensors (each with their
image processor may simply discard all video information own ray-like beam of light) used to measure more than one
after determining the 2D numerical coordinates for one or Surface point simultaneously. In that case, the structured
more points in the image of the intersection 36. The coor pattern 42 comprises several ray-like beams of light, possi
dinates of any such point in the image of the intersection 36 15 bly each with a different color to help distinguish them.
will be relative to the position of the scanner 12 and the           Embodiments projecting any particular pattern of struc
pattern of light 42 at the instant in time the image was tured light 42 (simple or complex) may use more than one
acquired. Integer coordinates may simply identify one or video camera 16 or 18 to view the intersection 36. This may
more video pixels which the optical real image of the advantageously provide redundant data for more accuracy or
intersection 36 illuminates. An embodiment may use inter- 20 may allow at least one camera to image Surface points which
polation between pixels to arrive at fixed or floating-point are not visible to another camera because of extremes in
coordinates for a Subpixel location which may coincide with Surface topography.
the centerline of the image of the intersection 36. For
example, Suppose a small portion of the image is roughly rawThe           data generated by scanner 12 may include the whole,
linear but illuminates two or more adjacent pixels which are 25 data video    frame acquired by any imaging sensor 16, 18. The
oriented roughly perpendicularly across that portion of the a raw video frame.a The
                                                                        may  include   compressed or further processed form of
image. Then the intensity-weighted average (centroid) of the or subpixel coordinates data   of
                                                                                                 may include the computed pixel
                                                                                               various points on the image of the
pixels' coordinates may represent a 2D Subpixel location on intersection 36 formed on each imaging            sensor 16, 18. The
the centerline of the portion. The location can be represented data may include the computed 3-dimensional            coordinates
by fixed point or floating point numerical coordinates, which 30 of various surface points of the intersection 36 derived   from
express finer resolution than integral pixel coordinates can. the subpixel coordinates of its image, where the 3D coor
For this reason, it may be desirable for the image of the
intersection 36 to be more than one pixel wide in general. dinatesin known
                                                                           are relative to a local scanner coordinate system 10
                                                                             relationship to scanner 12 and to structured pattern
This may be accomplished by slightly blurring the image 42. Regardless
(intentionally) or by ensuring that the intersection 36 on the 35 characterizes a of   its form, the data directly or indirectly
                                                                                    portion  of the geometry of object 38 as a
object 38 is not too narrow.
   An embodiment may further transform the 2D subpixel coordinate system 10. In one 40
                                                                  subset   of  points  on  surface      relative to the scanner
                                                                                                    embodiment,    several of the
coordinates of such a point on the image into 3D coordinates above computations are performed in a microprocessor
relative to a local Cartesian coordinate system defined with within scanner 12. In alternative embodiments, all or some
respect to the scanner 12 and/or the pattern of light 42. This 40 these computations are deferred to be performed by
transformation may be performed in a microprocessor of
within scanner 12, or within a separate computer 70. The separate computer 70.
mathematics of Such transformations is well known, espe transmitted  The geometric data, in one or more of the above forms, is
cially in the field of photogrammetry. See e.g., Manual of                      wirelessly via data transmitter 26. The medium
Photogrammetry, Fourth Edition, American Society of Pho- 45 of        transmission 28 may be one or more of the following:
togrammetry, Falls Church, Va. More generally, the 2D and modulated            radio frequency signals, modulated infrared sig
                                                                  nals, or modulated signals of some other wavelength. The
3D coordinates and transformations are well known and
described in books on analytic geometry and 3D computer transmission medium 28 may utilize a proprietary protocol
graphics such as Computer Graphics. Principles and Prac or an industry standard such as IEEE 801.11 WiFi, Blue
tice, by Foley et al (Addison-Wesley, Reading, Mass.).         50 tooth, IRDA, or any other current or future standard.
   In the case where the structured light pattern 42 is simply       U.S. Pat. No. 6,608,688, which is incorporated herein by
a single ray-like beam, a lens and a 1-dimensional CCD (or reference, presents a tracking system which tracks wireless
PSD or the equivalent) may suffice as the imaging sensor 16. instruments such as probes. That patent describes one or
A commercially available example of a combination diode more moveable trackable instruments each with position
laser beam, lens, and 1-dimensional PSD is the MX1C 55 indicators, which are tracked in a coordinate space, and to
(IDEC Corp., Sunnyvale, Calif.) displacement sensor. This transmit and receive various data wirelessly. In particular,
displacement sensor generates an analog output current the patent discloses techniques for synchronizing the track
corresponding to the coordinates of the image of the inter ing of multiple wireless instruments and for multiplexing the
section spot 36 on the MX1C. That is, the MX1C generates wireless communication with those multiple instruments.
an output current corresponding to the distance to where the 60 The geometric data sent by data transmitter 26 may be
beam intersects an object within its range. The amount of augmented by brightness or color data from the image of
current may be digitized using an analog-to-digital converter each sensor 16, 18, so that the surface model 80 of the object
(ADC) and converted to a numerical distance value using a 38 can include color or texture data in addition to geometri
calibration table. Together with the known location and cal shape data. To capture color data most accurately, an
orientation of the source of the beam 42 with respect to the 65 embodiment may utilize a color camera and a structured
scanner 12, a microprocessor may use the distance to pattern of white light or a pattern which includes a variety
compute the 3D location of the intersection 36 with respect of wavelengths.
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 14 of 19 PageID #: 21


                                                   US 7,256,899 B1
                              7                                                                 8
   The data transmitter 26 generally must transmit a Sub          details about the pattern of structured light 42, the position
stantial amount of information possibly as much as a              indicator or indicators 20, 22, 24, the number of sensors 16,
stream of video image pixels and/or many image subpixel          18, the serial number, and so forth may be stored on-board
coordinates and/or 3D surface point coordinates. Therefore,      on Scanner 12. The details in memory may be transmitted
a relatively high speed communication protocol may be            upon start-up, transmitted from time to time by data trans
required. Such as megabits per second. This does depend on       mitter 26, or used internally by a microprocessor in Scanner
the rate at which image pixels are acquired or at which          12. The details may include location or orientation coordi
Surface coordinates are computed. That is, the communica         nates, data formats, or other description.
tion protocol rate may be dictated by the particular form and       Scanner tracking Subsystem 60 tracks and computes the
amount of data transmitted, or vice versa.                    10 location and orientation of at least one position indicator 20,
   A 2-dimensional frame of image pixels can be transmitted 22, or 24 on scanner 12 with respect to an object 3-dimen
as a stream of many bytes (for monochrome) or many byte sional coordinate system 5. Given the location and/or ori
triplets (for color). The protocol may use Some proprietary entation of sufficient position indicators 20, 22, or 24, the
or standardized raw or compressed format, such as JPEG. If position of the scanner 12 may be determined—as is com
an embodiment transmits the pixel or Subpixel coordinates 15 monly done by optical tracking systems like the FlashPoint.
of points on the image of the intersection 36, and if at least Given a local coordinate system 10 on scanner 12 and the
10 video frames are acquired per second, at least hundreds locations (and orientations if relevant) of the position indi
of pixel coordinates may need to be transmitted per second. cators in it, there is a linear transformation T between the
Each pixel coordinate may comprise several bytes, so a scanner coordinate system 10 and the object coordinate
minimum communication rate of megabits per second may system 5 at a given instant in time. It is noted that transfor
be necessary. Such a transmission rate may apply also to an mation T will change dynamically as Scanner 12 is moved
embodiment in which the pixel coordinates are first trans and may be recomputed continuously. T may be imple
formed into 3D surface point coordinates relative to the mented by a homogeneous matrix as is common in computer
scanner 12 by a microprocessor within scanner 12. Other graphics. T can be used to transform the Surface coordinates
slower wireless protocols such as Bluetooth, ZigBee, or 25 relative to scanner coordinate system 10 into coordinates
IRDA may be used in embodiments where the pattern of relative to coordinate system 5. Coordinate system 5 may
structured light is a single ray of light and only a few actually be the de facto or built-in coordinate system of
coordinates are to be transmitted per second.                    subsystem 60 or may be explicitly defined by the user during
   At lease one trackable position indicator 20, 22, or 24 is a separate initialization step.
attached to, is part of, or is in fixed or otherwise known 30 In an embodiment using tiny or point-like position indi
relationship to handheld scanner 12. The trackable position cators 20, 22, 24 (such as marked by LEDs or retro-reflective
indicator may be represented by a point on a high contrast spheres or dots or prisms), at least three non-collinear
geometrical pattern. Alternatively, a position indicator 20, position indicators must be located. The locations of non
22, or 24 may be (the center of) a retro-reflective marker collinear position indicators unambiguously specify the
(such as a small disk or ball) and may be illuminated by an 35 location and orientation (that is, the 3D position) of the
external light source (not shown in FIG. 1). A position scanner 12. Because the pattern of light 42 is in a known
indicator 20, 22, or 24 may also be an actively illuminated relationship to the scanner 12, the location and orientation of
point-like Source of light, such as a light emitting diode the pattern of light 42 may also be determined. For example,
(LED). For example, a position indicator 20, 22, or 24 may a local coordinate system 10 may conveniently be defined on
be the emitting end of an optical fiber which is illuminated 40 scanner 12, and the location and orientation of the pattern of
by a light source at the other end of the fiber. For position light 42 and position indicators 20, 22, 24 may be defined by
indicators 20, 22, or 24 which are small or point-like, more means of 3D coordinates with respect to the local scanner
than one will be required in order to ascertain accurately the coordinate system 10.
3-dimensional orientation of the scanner 12 and therefore           FIG. 1 depicts a scanner tracking subsystem 60 with three
the orientation of the pattern of projected light 42. In such 45 sensors 64, although a tracking Subsystem 60 may employ
an embodiment, at least three non-collinear position indica fewer or more sensors 64. An embodiment may employ as
tors 20, 22, or 24 (preferably separated as widely as prac the scanner tracking Subsystem 60, for example, the Flash
tical) may be located on the Scanner 12.                         Point system of Boulder Innovation Group, Inc. (Boulder,
   A source of energy (not shown in FIG. 1). Such as a Colo.), which employs three 1-dimensional CCD sensors.
battery, Supplies power to one or more components of the 50 Another example of an optical tracking system is the Polaris
scanner 12. Components requiring energy may include the sold by Northern Digital, Inc. (Waterloo, Ontario, Canada),
Source of structured light 42, the optical imaging sensor, any which employs two 2-dimensional imaging sensors. An
image processor present, any powered position indicators, embodiment may use any 3D tracking system for Subsystem
any microprocessor for coordinate computation, the data 60—even one which is non-optical, Such as a magnetic
transmitter 26, and any other associated electronics. In an 55 tracking system. Any 3D tracking system may be used, as
embodiment, a battery may be rechargeable, may be per long as the location and orientation of the pattern of light 42
manently housed in scanner 12, and may be recharged may be determined in real time sufficiently accurately for the
through an external connector built into Scanner 12. In other system to acquire a satisfactory approximation of the Surface
embodiments, the Source of energy may comprise any one or geometry of a 3-dimensional object.
more of the following: a battery, an electromagnetic energy 60 The embodiment of FIG. 1 shows the pattern of light 42
receiver-converter, a Solar cell, a storage capacitor, a fuel being projected from scanner 12 and the intersection 36 of
cell, and any future energy source or energy storage tech that pattern with the object 38 being imaged by at least one
nology.                                                          imager 16 and/or 18 also located in the same Scanner 12.
   The Scanner 12 may include memory accessible from a However, the pattern of light 42 need not necessarily be
built-in microprocessor so that calibration data, identifica 65 fixed with respect to an imager 16 or 18, if the structured
tion, and other descriptive information characterizing the pattern 42 is tracked by tracking subsystem 60 with respect
scanner 12 may be available. For example, the geometric to coordinate system 5, and if each imager 16 or 18 is also
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 15 of 19 PageID #: 22


                                                    US 7,256,899 B1
                                9                                                                10
tracked by tracking subsystem 60 with respect to coordinate The format of the saved 3D geometrical model may be
system 5. In effect, scanner 12 may be split into two or more custom, proprietary, or an industrial CAD standard.
parts, each of which may be tracked independently, and each           In an embodiment, the object coordinate system 5 may be
of which comprises sufficient position indicators 20, 22, 24 static with respect to the tracking subsystem 60, in which
to allow tracking subsystem 60 to determine the position of 5 case the object 38 should not move with respect to tracking
each part. One part includes the means of projecting the Subsystem 60 during the scanning process. In another
structured light 42. Another part includes the sensor for embodiment, the coordinate system 5 may dynamically
imaging the intersection 36 of that light with the object 38 move with respect to the tracking Subsystem as long as the
and would include the data transmitter 26. Because each part coordinate system 5 remains fixed (or is in an otherwise
may be separately moved, the position of each part may be 10 known relationship) with respect to object 38 during the
described by its own 3D transformation matrix which scanning process and the tracking system also tracks the
describes the location and orientation of the corresponding position of the coordinate system 5 relative to itself. In the
part with respect to object coordinate system 5. The trans latter case, the coordinate system may be defined by one or
formation matrix for the pattern of light 42 can be used to more reference position indicators—similar to the indicators
transform points, rays, or planes of the structured light 15 20, 22, 24 on the scanner 12 for example—which are located
pattern at a given moment of time into the object coordinate fixedly with respect the object 38. The reference position
system 5. The transformation matrix for an imager 16 or 18 indicators may possibly be mounted on a rigid reference
can be used to transform the image-forming ray correspond body affixed to object 38. A technique to provide a coordi
ing to a point in the image into the object coordinate system nate system 5 which may dynamically move in fixed rela
5.                                                                 tionship with object 38 during scanning (but not necessarily
   For simplicity and clarity, the specification assumes that remain in fixed relationship to subsystem 60) is presented in
the pattern of structured light 42 is fixed with respect to each U.S. Pat. No. 5,920,395, which is incorporated herein by
imaging sensor 16 or 18. However, the methods and systems reference.
described herein can operate with the use of the split scanner        Although FIG. 1 illustrates only one wireless scanner 12,
as well.                                                        25 more than one wireless scanner 12 may be present in the
   The computer 70 collects the data received by data volume in which tracking subsystem 60 operates. Further
receiver 72 and collects the 3D scanner positions of scanner more, other moveable tracked instruments may need to be
12 from tracking subsystem 60. Computer 70 temporally tracked in the Volume, Such as contact probes or a rigid
correlates the received data from receiver 72 with the             reference frame defining a coordinate system 5. Each instru
scanner position data so that the received data for a given 30 ment has its own positional indicator or indicators and may
image of an intersection 36 is associated with the position of be wireless also. Alternatively, both wireless and wired
the scanner at the time the image of the intersection 36 was scanners may be used in the volume in which tracking
acquired. A timestamp from an internal millisecond clock Subsystem 60 operates. As above, each instrument has its
may be associated with each datum received by receiver 72 own positional indicator or indicators regardless of whether
and with each collected Scanner position measurement. The 35 the scanner is wired or wireless.
data received from receiver 72 and the collected scanner              FIG. 2 is a perspective drawing of an embodiment of
position measurements are associated by matching data and scanner 12. As shown, the scanner 12 includes a source 41
measurements acquired at essentially the same time. This of pattern of structured light 42. The pattern 42 as shown in
allows the computer 70 to transform the coordinates in the the figure is simply a single ray-like beam of light directed
coordinate data received by receiver 72 to 3D coordinates in 40 toward object 38 with surface 40 and intersects surface 40 at
the object coordinate system 5.                                    intersection point 36. Nevertheless, a variety of patterns may
   The computer 70 accumulates coordinates of points on be employed. FIG. 1 shows two imaging sensors 16 and 18.
some or all of the surface 40. These coordinates were              As previously noted fewer or more imaging sensors may be
previously transformed to be relative to the object coordi present. Lines 43 depict rays of light reflected from inter
nate system 5. The accumulation of the object-relative 45 section 36 back to the imaging sensors 16, 18 to form an
coordinates forms a point cloud, which at least partially image of the Surface point 36 in each imaging sensor 16, 18.
models the surface geometry 40 of object 38. The computer Structured light pattern 42 may emerge from Scanner 12 at
70 may further model the surface 40 by using the point cloud a fixed angle or Scanner 12 may automatically Sweep light
to construct a tessellation of abutting 3D patches to form a pattern 42 through some trajectory.
3D surface approximating the surface 40 of object 38. The 50 Data transmitter 26, depicted as an antenna, repeatedly
patches may simply be planar polygons such as triangles or transmits data characterizing the location of an intersection
quadrilaterals. The patches may be curved surfaces, the point 36 relative to the scanner 12, as scanner 12 is moved,
shapes of which may each be described by a parameterized,          so that the pattern of structured light is moved over at least
multivariate function Such as a polynomial, rational poly a portion of the surface 40 of object 38. In addition to the
nomial, or other function, as is commonly used in computer 55 locations of intersection points 36 on surface 40, transmitter
graphics. Curved patches may allow a more accurate rep 26 may also transmit data characterizing the coloration or
resentation of the geometry 40. Alternatively, curved patches texture of surface 40. For example, transmitter 26 may
may allow for a more compact surface model with fewer transmit raw monochrome or color intensities taken from the
patches.                                                           pixels of sensors 16 or 18.
   An embodiment may display the accumulated points or 60 Data transmitter 26 may forego retransmission of essen
patches on a graphics Screen 76—either during the scanning tially redundant data, if the scanner 12 does not move with
process to give user feedback or at least after the scanning respect to the object 38 after an image is first acquired.
process is complete. Some or all of the accumulated points            Transmitter 26 may be part of a transceiver, which also
or patches of the model can be saved to permanent storage receives configuration parameters, operational commands,
78 such as a disk drive, CD-ROM, flash memory, or the like. 65 or other input signals. Such parameters, commands, or
The points or patches may be further transmitted wirelessly signals control the operation of scanner 12. Configuration
or over wires to a graphics workstation or other computer. parameters, for example, dictate the rate, format, or kind of
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 16 of 19 PageID #: 23


                                                    US 7,256,899 B1
                              11                                                                 12
information to be transmitted. Operational commands, for Video frame (raster) in a more normal fashion. Because most
example, dynamically alter the size, shape, color, or inten Video cameras contain fewer than several thousand pixels
sity of the structured light 42.                                    per column, only the most significant 12 bits (for example)
   Handle 44 in FIG. 2 is optional, but may be convenient for may be required for representing (vertical) integral pixel Y
handheld operation of the scanner 12. If handle 44 is present, coordinates. Thus the least significant 4 bits can be used to
it may be a convenient structure in which to place a represent fractions of an interpolated vertical Subpixel coor
rechargeable energy source Such as a battery.                       dinate as a 16-bit fixed-point binary value with 4 bits to the
   Scanner 12 comprises one or more position indicators 20, right of the binary point.
22, 24, Sufficient in number to allow a scanner tracking               Data record format 403 of FIG. 4 may be used to transmit
subsystem (as described above) to determine the location 10 video camera frame data compactly. Format 403 is more
and orientation of scanner 12 accurately and unambiguously. general than format 401 and may be used to transmit more
Three tiny or point-like optically-tracked, non-collinear general image geometries than that exemplified in FIG. 3.
indicators 20, 22, 24 are show in FIG. 2. Three non-collinear       For record format 403, some or all of the pixels which
indicators are normally needed in order for a scanner track contain the image of the intersection may be transmitted. In
ing subsystem (60 in FIG. 1) to determine the 3-dimensional 15 this case, the X, and Y, coordinates would both be interpo
location and the 3-dimensional orientation of the scanner 12.       lated values, representing a local centroid of a tiny piece of
An exception, for example, is the case in which a ray-like the image, such as a 5-by-5 pixel “window” straddling a part
beam 42 can be collinear with just two or more position of the image.
indicators 20 and 24 collinear with the ray.                           Data record format 404 of FIG. 4 is similar to format 403,
   FIG. 3 is an example of a video image 92 of the inter except that it also includes red-green-blue (RGB) color
section of a plane of light with an object together with an intensities corresponding to each X, and Y, location in the
expanded close-up view of 16 pixels 94 from the video image. The RGB color values may themselves be interpo
frame 90, some pixels of which contain a part of the image lated or may be copied from the pixel in which the location
92 of the intersection. The camera is located outside the           (X,Y) is located. For monochrome scanners, a single 8-bit
plane of the light and is oriented so that the pixel rows of its 25 field can replace the three 8-bit R, G, and B fields.
video frame 90 are approximately parallel to the plane of              Data record format 407 of FIG. 4 is an example of how
light (structured pattern). Then the image 92 (shown as 3D coordinates may be transmitted. This embodiment
black) of the intersection generally extends left to right assumes that a microprocessor within scanner 12 (of FIG. 1
across the frame 90. Because the image illuminates more or FIG. 2) transforms subpixel coordinates of given points
than one pixel within each column of pixels, interpolation 30 on the 2D image into 3D XYZ coordinates of surface points
may be possible using a weighted average (centroid) com of the object. The 3D XYZ coordinates would be relative to
putation. This would yield a subpixel location in which each the local coordinate system 10 of the moveable scanner 12
(vertical and horizontal) coordinate may be represented by a and of its pattern of structured light 42. An advantage of Such
finer resolution fixed-point or floating-point number rather an embodiment is that computer 70 (of FIG. 1) may not need
than just integral row and column coordinates.                   35 to know any details about Scanner 12, Such as the geometry
   FIG. 4 lists several examples of potential data record of its structured light pattern, the number of cameras, and the
formats (as bit sequences), which may be used to transmit type and resolution of the cameras. That is, the scanner may
data from transmitter 26 to receiver 72. The numbers in             be somewhat of a “black box” with regard to such details.
parenthesis in each field indicate the number of bits that may         Data record format 409 of FIG. 4 is similar to format 407,
be needed to represent the field's value as a binary integer, 40 except that RGB color data about each corresponding XYZ
a fixed-point binary value, or a floating point number. In all point is also included.
examples, the “scanner ident.” field may be a serial number            Using the example formats of FIG. 4 and the processing
uniquely identifying the scanner transmitting the data. The performed in wireless scanner 12 (of FIG. 1) can signifi
“scanner ident.” may identify known properties or calibra cantly reduce the amount of transmitted geometric and color
tion information specific to a particular scanner and stored in 45 data compared to the data conventionally sent by a video
a database in computer 70 (of FIG. 1). The “checksum may camera over a cable. Processing the image data within a
be a 32-bit value which may simply be the 32-bit sum of all “Smart’ scanner 12 also can distribute the processing among
the preceding fields, for example, and used to Verify trans several computers and can allow the Scanner 12 to be more
mission integrity. In an embodiment, other fields may be device-independent. Many variations of tracked scanners
present, such as a prefix bit pattern to help identify the 50 may be truly interchangeable if certain conventions are
beginning of a record format or a field which contains a uniformly followed. Namely, all variations of tracked scan
scanner status/error code.                                          ners 12 must transmit data according to the same data record
   Data record format 401 of FIG. 4 may be used to transmit format (such as 409). In addition, all interchangeable varia
Video camera frame data compactly, such as the image tions of tracked scanners must define Scanner coordinate
depicted in FIG. 3. Format 401 assumes that the intersection 55 systems which relate in the same way to how their positions
is a contour line on the surface of the object and that the are tracked and reported by the scanner tracking system (60
camera is oriented so that the contour line forms an image of FIG. 1). For example, the reported location of each
on the camera's frame which extends roughly left to right in scanner can be arranged to be the origin of its scanner
the frame. Then for each column of pixels, the image crosses coordinate system 10. Also, for any given scanner orienta
the column at most in one place and occupies one or more 60 tion reported by the tracking system, the scanner coordinate
adjacent pixels (if any at all) of the column. If the image axes of every interchangeable scanner should point the same
occupies more than one pixel for a given column c, then direction with respect to the object coordinate system 5.
interpolation may be used to compute a subpixel location for           An embodiment method for acquiring an approximation
the vertical center Y of the image in column c. If no pixel of the Surface geometry of a 3-dimensional object, without
of column c is illuminated by the image, then Y may be set 65 needing to contact the object physically, comprises steps
to some exceptional value (Such as Zero). Note that format listed in FIG. 5. Step 500 of FIG. 5 defines an object (or
401 requires far fewer bits than for transmitting the cameras global) coordinate system 5 in which the object to be
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 17 of 19 PageID #: 24


                                                    US 7,256,899 B1
                               13                                                                 14
scanned resides. Coordinate system 5 may be the de facto so that the directions of each of the X, Y, and Z axes of the
coordinate system of a scanner tracking system as described local coordinate system are parallel to the directions of the
above. The coordinate system 5 may be a static user-defined corresponding axes of the object (global) coordinate system
coordinate system, in which the object may not be moved when the scanner is in the reference orientation (that is, the
during scanning. The coordinate system 5 may be dynamic orientation matrix is the identity matrix).
with respect to the tracking system but in a fixed relationship        Step 560 wirelessly receives the processed surface point
to the object as the object or scanner moves during scanning. coordinates transmitted in step 540, associating each coor
For example, the coordinate system 5 may be defined with dinate set with the spatial location and orientation of the
respect to (the position indicator or indicators of) a second pattern of light at the time the image associated with the
ary, reference object (not shown) affixed to the scanned 10 Surface point data was formed. An embodiment may be so
object.                                                             configured that this naturally happens, because the timing of
   Step 510 projects a known pattern of structured light onto steps 510 through 540 is effectively contemporaneous with
an object, producing illuminated Surface points on the inter step 550. An embodiment may associate coordinate sets with
section between the pattern and the object. The structured scanner positions by assigning to each a timestamp from a
pattern may be as simple as a ray-like laser beam, a thin 15 common clock (or synchronized clocks) and performing the
plane of light, a complex pattern generated by coherent light associations by matching together coordinate sets and scan
through a hologram, or any other pattern, as previously ner positions which both have a common timestamp.
discussed. Step 510 is the first of several repeated steps, the        In an embodiment the times of capturing images in a
last of which is step 590.                                          scanner and the times at which the scanner position is
   Step 520 forms an image of the intersection of the pattern determined may be asynchronous or at least may not closely
of light on the object. This step may use one or more video match. In such an embodiment, the position of the Scanner
cameras, positioned in Some known relationship to the for a specific time (such as the time an image was captured)
pattern, as described previously. In the simple embodiment may be interpolated from two or more known positions of
projecting a ray-like beam of light, the image may be formed the scanner which are at times very close to the time of the
on a 1-dimensional sensor. In a general embodiment, the 25 image capture. For example, Suppose the scanner position is
image of each camera would be 2-dimensional.                        known at two times to and t which fall on each side of the
   Step 530 processes points in the image of the intersection time t, at which the image was acquired. Then linear
to obtain a set of 3D coordinates of corresponding Surface interpolation may applied individually to each scanner posi
points on the intersection, where the 3D coordinates are tion coordinate, such as X at to and X at t, so that the
relative to the pattern of light. Standard practice may con 30 estimated value of X at time t is
veniently establish a local scanner 3D coordinate system 10
relative to which the pattern of light may be described as
vectors, planes, curved Surfaces, and so forth according to and so forth for the other location and orientation coordi
normal 3D analytic geometry. Similarly, the relationship of
an image point to the intersection point which produces the 35 nates. For greater accuracy, four times at which the Scanner
image point may be described according to the scanner be            position in known (two times on either side of time t) may
coordinate system 10. This involves the straightforward                 used for cubic interpolation.
application of 3D analytic geometry, where the locations of            Step   570 transforms each surface point relative to the
the image plane pixels and the effective center of camera projected pattern (that is, expressed in coordinates relative to
lens (treated as a pin-hole camera) are at known scanner 40 the Scanner coordinate system) into corresponding coordi
coordinates. An intersection point on the Surface of the nates in the object coordinate system. This may be accom
object lies at the 3D intersection of the pattern and the line plished by applying a transformation matrix T to each of the
passing through an image plane Subpixel location and scanner coordinates to produce coordinates relative to the
through the effective center of the lens. For example, if the the   object coordinate system, according to common practice in
structured light pattern is a plane, the plane and the line 45           art. The transformation matrix T varies as the scanner
through the image Subpixel and lens intersect at a 3D point,        moves,    and may be directly derived from the location and
which lies on the illuminated part of the object.                   orientation of the associated position of the pattern of light
   Step 540 wirelessly transmits the intersection point coor (that is, essentially the position of the Scanner). The trans
dinates generated in step 530, which are coordinates of formation matrix T may be the matrix product of a transla
Surface points. The wireless medium may be any of those 50 tion transformation matrix (directly based on the location of
examples listed earlier or any other suitable wireless the scanner) and a rotation transformation matrix (directly
medium. The data format may be any of those examples based on the orientation of the scanner).
described earlier or any other suitable format.                        As the pattern of structured light is moved across the
   Step 550 tracks the spatial location and orientation (posi surface of the object, step 580 accumulates the transformed
tion) of the projected pattern of light in the object coordinate 55 surface point coordinates to form a “point cloud'. These
system 5. In practice, a Scanner tracking system will track points may approximate at least a portion of the Surface of
the spatial location and orientation of the source of light, the the object. An embodiment may display the points on a 2D
scanner containing the Source, and specifically one or more screen either while the object is being scanned or after all the
position indicators affixed to the scanner. Note that step 550 Surface points are accumulated. An embodiment may dis
may be executed in parallel with any or all of steps 510 60 card obviously erroneous “outlier points, which in a prac
through 540.                                                        tical system may be generated, for example, by noise in the
   It may be most convenient to define the scanner coordi Video camera or in the scanner electronics, by reflection
nate system mentioned in step 530 so that the origin of the artifacts, or by too rapid motion of the Scanner.
scanner coordinate system 10 coincides with the location of            Step 590 directs the pattern of light to be moved with
the Scanner which the Scanner tracking system reports as the 65 respect to the object, so that a new set of points on the
location of the scanner. It may be most convenient to define surface are illuminated by the intersection. Step 590 directs
the local (scanner) coordinate system mentioned in step 530 execution back to step 510 to process the new input until
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 18 of 19 PageID #: 25


                                                    US 7,256,899 B1
                              15                                                             16
Sufficient points are accumulated. This is the last step of a set    Once the coordinates of the intersection for any given
of repeated steps which may be repeated until the approxi position of the scanner relative to the object have been
mation satisfactory models the object. Satisfactory termina transformed into object (global) coordinates, the method of
tion may be based on the percentage of Surface area of the FIG. 6 proceeds like steps 570 through 595 of FIG. 5.
object that has been modeled, the minimum density of 5 In an embodiment which allows the object being scanned
Surface points acquired, or some other condition.                 to be moved so that the object (global) coordinate system
   Step 595 may generate a tessellation of patches modeling moves with the object, the scanner may not need to be
the surface of the object. The patches may use some or all moved at all. The object itself may be moved and rotated so
of the accumulated Surface points as vertices or control that the (potentially stationary) pattern of structured light
points for the patches, as is common in 3D computer 10 eventually intersects with the entire surface of the object (or
graphics. The resulting tessellation may be displayed on a at least all parts of interest on the surface). See step 590 of
graphics screen in addition to or instead of the accumulated FIG. 5 or step 690 of FIG. 6.
surface points of step 580. Conventional computer graphics           While the present invention has been disclosed with
shading may be applied.                                           reference to certain preferred embodiments, numerous
   FIG. 6 Summarizes another embodiment method for wire 15 modifications, alterations, and changes to the described
lessly acquiring an approximation of the Surface geometry of embodiments are possible without departing from the sphere
a 3-dimensional object, without needing to contact the and scope of the present invention, as defined in the
object physically.                                                appended claims. Accordingly, it is intended that the present
   Steps 600, 610, 620, 650, 670, 680, 690, and 695 of FIG. invention not be limited to the described embodiments, but
6 are identical respectively to steps 500,510,520, 550, 570, that it have the full scope defined by the language of the
580,590, and 595 of FIG. 5. Only the steps of FIG. 6 which following claims, and equivalents thereof.
differ from corresponding steps of FIG. 5 will be explained
below.                                                                We claim:
   Step 630 processes the image to obtain a set of one or          1. A method for acquiring an approximation of a surface
more 2D pixel coordinates of points on the image of the 25 geometry of a 3-dimensional object comprising:
intersection. While these coordinates may simply be integral       establishing an object coordinate system in known rela
pixel coordinates in the frame of an imager of the scanner,           tionship to the object;
interpolation may be used to obtain higher resolution 2D           projecting a pattern of structured light of known geometry
coordinates of points in the image. The pixel coordinates             onto the object;
may be interpolated within rows, within columns, or within 30 forming an image of an intersection of the pattern of
areas which contain portions of the image. Where a portion            structured light with the object;
the image forms a curved or straight line, subpixel image          processing the image to generate a set of data character
points may be limited to those which are on the centerline or         izing the intersection relative to a position of the pattern
the centroid of the portion.                                          of structured light;
   Step 640 wirelessly transmits the processed pixel or 35 wirelessly transmitting some portion of the image and
subpixel coordinates to a receiver. The format of the trans           intersection data to a receiver;
mitted data may be something like that of formats 401, 403,        receiving the transmitted portion of the image and inter
or 404 of FIG. 4. Step 640 parallels step 540 of FIG. 5,              section data;
except that points in the image of the intersection are not yet    tracking the position of the pattern of structured light;
converted to 3D coordinates of points on the intersection 40 associating each intersection datum with the position of
itself. That is, the conversion is delayed until a later step.        the projected pattern of light at the time the image
The method of FIG. 6 may be used in order to reduce the               corresponding to the datum was formed;
amount of computation required by the scanner.                     transforming   each intersection datum into coordinates of
   Step 660 wirelessly receives the processed pixel coordi            the object  coordinate  system; and
nates, associating each coordinate set with the spatial loca 45 accumulating the transformed coordinates to form an
tion and orientation of the pattern of light at the time the          approximation of the surface of the object.
image associated with the Surface point data was formed.           2. The method of claim 1, wherein the projecting of the
   Step 665 requires geometrical information about the
shape, location, and orientation of the pattern of structured pattern    of light projects a narrow ray-like beam of light.
light of step 610. Step 665 also requires geometrical infor 50 pattern ofmethod
                                                                   3. The           of claim 1, wherein the projecting of the
                                                                            light projects a planar fan of light.
mation about the location, orientation, and focal length (or       4. The method of claim 1, wherein the image processing
lens location) of the video camera (or other imager) with excludes         all video data from the transmitted intersection
respect to the pattern of light. The specific information about data, except   data characterizing the image of intersection.
a particular scanner may be stored in a database and be
accessed by means of the serial number of the scanner. An 55 5. The method of claim 1, wherein the position tracking
embodiment may be able to download this information from utilizes triangulation calculation.
the scanner itself through the same means which transmits          6. The method of claim 1, wherein the processing of the
the pixel coordinate data.                                      image generates 3D coordinates of one or more points in the
   Using the geometrical information about the 3D relation intersection relative to a coordinate system in known rela
ship of the image to the pattern of light, step 665 converts 60 tionship to the projected pattern of structured light.
the pixel coordinates to 3D surface point coordinates relative     7. The method of claim 1, wherein the processing of the
to a scanner coordinate system defined with respect to the image generates 3D coordinates of one or more points in the
pattern of light. This is essentially the same computation that intersection relative to a coordinate system in known rela
was performed in step 530 of FIG. 5, where it was performed tionship to the image.
before the wireless transmission and reception of the data 65 8. The method of claim 1, wherein the processing of the
characterizing a portion of the surface of the object (the image generates 2D coordinates of one or more points in the
intersection) relative to the scanner.                          image of the intersection.
Case 2:23-cv-00479-JRG Document 1-1 Filed 10/12/23 Page 19 of 19 PageID #: 26


                                                   US 7,256,899 B1
                            17                                                                  18
  9. The method of claim 8, wherein 3D coordinates of one           means for projecting a pattern of structured light of
or more points in the intersection are computed after receiv           known geometry onto the object;
ing the 2D coordinates.                                             means for forming an image of an intersection of the
  10. The method of claim 1, wherein the intersection data             pattern of structured light with the object;
is transmitted using an industry standard communication 5
protocol.                                                           processing means for generating a set of data character
  11. The method of claim 1, wherein the intersection data             izing the intersection relative to a position of the pattern
is transmitted using a proprietary data communication pro              of light;
tocol.                                                              transmitting means for transmitting some portion of the
   12. The method of claim 1, wherein the position of the 10           image or intersection data to a receiver, receiving
projected pattern of structured light is tracked by tracking at        means for receiving the transmitted processed intersec
least one position indicator on an assembly which houses a            tion data;
Source of the projected pattern of light.
   13. The method of claim 1, further comprising the step of        tracking means for tracking the position of the projected
generating a tessellation of patches representing the Surface 15       pattern of structured light;
of the object based on accumulated transformed coordinates.         means for associating each intersection datum with the
  14. The method of claim 1, wherein the intersection data             position of the projected pattern of light at the time the
includes a representation of the color of at least one point on        image corresponding to the datum was formed;
the surface of the object.                                          transforming means for transforming each intersection
   15. The method of claim 1, further comprising a step of 20          datum into coordinates of the object coordinate system;
wirelessly transmitting to a receiving workstation the trans          and
formed coordinates which form an approximation of the               accumulating means for accumulating the transformed
surface of the object.
   16. A system for acquiring an approximation of a surface           coordinates to form a model approximating the Surface
geometry of a 3-dimensional object comprising:                 25     geometry of the object.
  means for establishing an object coordinate system in
    known relationship to the object;
